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                                               UXITED STATESDISTW CT COURT                       .
                                                                                                     1*..
                                                                                                     '                       ''''*
                                                                                                                                 Y*11
        '                                                                                                 xathan ochsner, clerk 62
                                                SOUTFIERN DISTRICT OF TEX AS                         .
            .                                        M CAT,LEN DW ISION                                                            ,
j               '                               .              x             .
                                                                             ,
i                    UM TED STATES OF AM RW CA                     j
                                                                   :.                    .                      ,
i                    v.                                            1          CrimiralNo.7:21-CR-1228-51
                                                    j
                     JOHN AGEUDO RODW GW Z         .j
                     M OHAMM AD EWTIAZ CH OMY HURY â
                     TA/ Y SH AM SCHOMY HURY        :                                                     '.
i                    .                              5
                                             SEAT,ED SUPERSEDING INDICTG N T     -           .




                     TH E G        JURY CR AQGES:

                           Ata!ltimesrelevan.
                                            ttotMsIndictmept,unlessotherwisestated:
                                               FederalEmyloyees'CompenoatiouAct
                           1.      TheFederalEmployees'CompensationAct(:TBCA'')providedbenefkstofederal
                     employeeswhosufferedonthejobiqjuriesanddiseases.Thebeneftsincludedmedicalcareand
                     supplies,and prescription dzugs.
                           2.      TheCodeofFederalRegulations(SSCFRy')governedtheFECA program.'
                                                                                               l''
                                                                                                 heCFR                             . '
                     stated thatthe s'
                                     ubm ission of a billalld acceptance ofpaym entby a provider signifed thatthe

                     serviceforwhich reim bursem entwassought,wasperform ed asdescribed,necessary'
                                                                                                 ,appropriate,

                     alld properly billed in accordance w1t.
                                                           1: industry standards, The Departm ent of Labor ofiice of
                                                                                     .                                   '


                     W orkersCompensation Program (f%DOL'')Ldministered tileFECA Progmm. Phnrmaciesthat
                     enzolled with the NaionalCouncilforPrescription Drug Programs ('W CPDP'')were able to
                     receiveFECA program pam entsfrom D OL.

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                                         TRICAR E

               TRICARE was a federally fllnded health care progrmn of the United States'

 DepndmentofDefense (($DOD'')thatprovided coverageforDOD benefciarieswozldwide,
 including activç duty service m em bers
                                       #
                                        ,N ational Guard and Reserve m em bers,retirees,theiz
                j


 fnmilies,and survivors.

      4,       TRICARE provided health care benefits f0r'
                                                        certain pzescription drllgs,including

 certaincompounddrugs,thatweremedicallynecessav andprescribedpuzsuautto'lRlcAM rules
 and zegulations, ln orderto,pay a olaim ,TRICA RE requized thatthe billed item be m edicdly

 necessav ,properly prescribed by a licensed physician,and actually provided tc a 'IR ICARE

 benefciary.

       5.      TRICARE contracted wif,
                                     h Express Scripts h cop orated to admlnister the
 prescripticn dnlg pl= oftheTRICARE progrnm ,including theprocessiag andpaym entofclaims.

                                         M edicare
                                                           '
                                                                                       ?-

       6.      M edicareprovidedbenefitsto individualswho w ere65yearsand olderordisabled.

 M edicazew asadm i/ stered by the CentersforM edicare arld M edicaid Services,afederalagency

 tm dertheUnited StatesD epnrtm entofH ealth aud Hum nn Serdces.

               M edicare PM D provided coverage foroutpatientprescription drugs. In orderto

 receivePM D benefts,abeneûciary em olled in aM edicaredt'ug plan.M edicarednlg planswere
 operated by privatecompaniesapproved by M edicate,often referred to asdrug plan sponsörs. A

 benesciaty in a M edicm'edrug pl= could E11apreschption alaphnrm acy and use hisorhorplan

 topay forsom eora11oftheprescription.

       8.      A Phnrmaoycouldpm icipateintieM edicazePartD progrsm byenteringaretail
 networkagreementdirectlywitltaplanorwithoneormorePhsrmacyBenef.tManagersCTBM'').

                                              2
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 A PBM actedon behatfofoneormoreM edicaredrugplans.Through aplan'sPBM ,apharmacy

 couldjointheplan'snetwork.Participatingphm-maciescouldsubmitclaimsrelatingtoMedkare                I
                                                                                                    l
 PM D benefciariestotheirM edicarerlrngplartortheplan'sPBM .

       9.       M edicarereim btlrsedphazm aciesforcel
                                                     'tain drugs,l cluding com pound drugs,that.
                                                                                                    i
 wezemedicatlynecessarytothetreatmentofabeaeficiary'silhessorinjuiy,wereprescdbedby
 a benefciary's physician or a qunlifled physician's assistant acting under the supew ision of a

 physician, and were provided in accordance witit M edicare regulations and guidelines that
                                               .             7
 govem edwhetheraparticulardz'ugwolzldbereimbupedby M edicare.

                                      PrivateInsurance

       10.      Comm ercialinsurance com paaies, bmployers, and private entities Qffered drug
                              1

 planswhichwerealsoadministeredandoperatedbyPBMS(collectlvelyS'Privatelnsurarme').A
 phsrmacy could pnrticipate in a Pzivate Instlrance dnlg plan by entering into an agreem entwit.
                                                                                               ll

 oneorm orePBM Sacting onbehalfofthednzgplan.PM icipatingphn= aciescouldsubm itdlaim s

 to PBM Srelating toprescdptionsforPdvate Insurancebenefciaries.

                Health CareBeneftProgram s- FederalH ealth CareProgram s

                FECA ,TRICARE,M edicare,alld Private Insuzance were a11Cthealth care benefit

 progmms''asdefmedbyTitle18,UnitedStatesCode,Secdon241)(collectivelythe'thealt.
                                                                              hcaze
 beneftprogigms'').
       12.      FECA,TRJCARE,aEd M edicare were 'Tederalhealth care progrnm s''as defmed
 by Title 42,United States Code, Section 1320a-7b(f) (collectively the CiFeder:tl health cal:e

 Programs'').
'



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                                                                                                        (

                                             Com pound Drugs

                     In generz,Rcom potm ding''isa practicein which alicensed phsrmacist,alicensed

        physioian,or,in thecaseofartoutsourcing facility,aperson underth.
                                                                        e supervision ofalicensed

        phnrmacist,combines,m ixes,Or alters ingzedients of a dnzg or m uldple drugs to create a.dnzg

        tailored tb the needsofan individualpatient. Com pound drugs âre not approved by the United

        States.Food arld Drug Administration CFDA'');thatis,the FDA doesnotverify the safety,
        potency'
               ,effectiveness?ormanufacturing quality ofcompou d drugs. TheTexasState Board of

        Phnrmacy regulatestllepractice ofcom polm dl g in tlleState ofTexas,

              14.     Compound drugsm .ay beprescribed by a physician when an FDA -approved drug

        doesnotmeetthehealth needsofaparticulazpatient. Forexample,ifa patientisazergicto a

        specifc hw edientin arlFDA-approved drug,suoh as a dye or a preseN ative,a compound dnlg
    .   canbepreparedexcludingthesubstancethattriggerstheallergicreaction. Compound drugsmay
        alsobeprescribed when a patientcarm otconsum e a drtzg by kaditionalm eans,such asan elderly

        patientor child who cnnnotswallow an FD A-approved pillan.
                                                                 d needs the drug in a liquid fo=

        thatisnotothem iseavailable,
                                   TheD efendantsand Rellied Eutities

              15.     JOHN A GEUD O RODRIGUEZ w as a residentofHidalgo Cotmty,Texas and a

        phnrm acistlicensed by the State ofTexas.

              16.     PharzFamilyPhnrmacy(tTFF')wasacompozmdingandzatailplmrrnacy awned
        andoperated byJOHN AGEUDO RODRH UBZ,and locatedon CageSkeetinPharr,Texms'
                                                                                and
        doing business tk oughout tlle State of Texas arld elsewhere, PFP did business under various

        names,includingUnited M ix and Custom Prescription Tnnovations.
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               J.
                n connection with opezating PFP,JOHN AOBUDO RODM OUEZ utilized a

 numbercfentities,irlcluding,JocarM anagem ent,LLC,a Texas lim ited liability com pany,arid

 Phnrmplex,Ltd.11,aTexaslim ited part
                                    uership.

       18.    M OHAM M AD IMTIAZ CHOW DHURY was a resident of Hidalgo Cotmty,

 Texas,and apup orted m arketerforPFP. M O               IM TIAZ
                                                               . CH OW D HU RY formed and

 operatedarlontityknown asEchelonM edicalIzmovations,LLC aTexaslirnltedliabilitycomp= y.

       19,     TAJUL SHXM SCHOWDJIURY,wasaresidentofHidalgoCotmty,Texas,anda
 physician licensed by the State ofTexas. TA JUL SH AM S CH OW DHURY ow ned and operated
                                                                                     .




 am edicalclinicin Edinbuzg,Texasknown asthe CenterforPain M anagem ent.
       20.                       zasa residentofHidalgo Coimty,Texas,a ntlrselicensed by the

 Texasboazd ofN ursing,and the operatorofabusiness known asM anosDe Oro,which provided
 hom e health services to beneficiazies of Federal health care progrmns itz and azound H idalgo
                                                                                '
                                                             j

'County,Texas.

                                     R elated Individuals

               AraceliGaonawasaresidentofHldalgoCotmty,Texasanda:lemployeeofTAJUL

 SHAM S CHOW DHURY andtheCenterforPain M anagement.
       22.     Edka SalinasV asquez was a residentofHidalgo Colm ty,Texas and allem ployee
 ofTAJUL SHAM S CH OW DHURY mld the CenterforPain M anagem ent.

       23.     Alex Flores,Jr.was a residentof Hidalgo Colm ty,Texas,a chiropractor Dcensed

 by the Texas Board of Chiropractic Bxam iners,and apup orted m azketer fozJOI!N AGEU DO

 RODRIGUEZ and PFP.
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      24.     Htotoz Dekzacruz,;z.was a Tesidentof Hidalgo County,Texas,a chiropractor

 licensed by the TexasBoard.of Chiropractic Bxaminers,and a purpozted mmketerJoz JOHN

 AGEUDO RODRIGUEZ and PFP.
                                                          f

      25.     AlexFlores,1z.andHectorDeLacruz,Jr.formedandoperated arlentitykrzownas

 Flores.& D e La Cruz FinanpialSolutions,LLC,a Texas limited liability company,wllich they

 usedincozmectionwit1itheirpmportedmarketingactivitivsforJOIIN AGEUDO'RODRIOUEZ
 ard PFP.

      26.     $'
               V.(l'7wasaresidentofHidalgc County,Texas,alzd apurported marketerlbr
 JOHN AOEUD O RODRIOUEZ and PFP.V .G.form ed an entity with the initialsCT .M .LLC'',a

 Texaslimitedliabllity compatly,which sheused in connection witllherpuzported marketing
 activitiesforJOHN AGEU DO RODRIGIJEZ and PFP.

      27,     $7.Y.''w as a residentof Hidalgo Cotmty,Texas,a puzpoded m arketerfor JOHN

 A OEUD O RODRIOU EZ andPFP,and alloperatorofapurportedclinio,dcingbusinessunderthe

 nameM ission W ellnessCenter,located inHidalgo Cotmty,Texas.

                                  CO IJN T 1
                 CON SPIM CY TO COM M IT H EALTH C ARE FR AUD
                                    (18U.S.C.j1349)
      28.     Pazagzaphs1through 27 areincop orated'
                                                   hereinbyreference.
              From inorarotmdM ay.2014 andcontinuingO ough inorarotmdSepttmbef2016,
 theexactdatesbeingllnknown tothe Grand Juzy,in theM cAllen D ivision oftheSouthem Diskict
 ofTexqsand elsewhere,defendants

                           JOIIN AGEUDO R ODW G UEZ
                        M OH AM M AD IM TIAZ CH OW DITIJRY
                                        snd
                           TATUL SH AM S CH OW DH URY
'




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             didu owingly andwillfully ccmbine,conspire,confederateandagreewitheach otherandgthers,
                                                                                                                  l
             known and unknown,tc violate Title 18,United States Code,Section 1347,thatis,to execute a
                                                                                                                  i
                                                                                                                  :
             scheme and artifceto defraud ahealth cazebeneftprogrsm affecting comm erce,asdefnedin                1
                                                                                                                  ï
                                                                                                        *
                                                                                       ,
             Title18,Urtited States Code,Section 24(b),and to obtain,by means ofmaterially false and              l
            'âaudulentpretenses,representations,and prom ises,m oney and property owned by,and tmderthe

             custodyandcontrolos saidhealthcarebenefitprogrnms,in cormectionwiththedeliveryofarld
                                                                        '
                                      .

            .paymehtforhealthcarebenefts,items,andservices.                                         ' .

                                  .            P urpose ofthe Conspiracv
                                               .                                           .
                                                   *                                                              j

                   30,     Itwas apurpose an.
                                            d object of the conspkacy for defendants and theiz co-
             conspiratorsto lznlawftllly earich them selvesby subm itting arld causingthesubmission zffalse

             and âaudulentclaim stohealth carebeneftprogrgm sf0rcom pound drugs atld otherprescziption

             items,including item sthatwerenotprescribed by aphysician,werenotm edically necessary,and
    I

             werenotw anted,needed,orused by patients.

                                          M anner and M tan: cfthe Consniracy
                                               -




                   The m nnner and m eans by which the defendants and their co-conspizators sought to         '

             accomplishtheobjectandpmyoseoftheconspiracyincluded,amcngotherthings:
                   31,     JOHN AGBU D O ROD RIGU EZ, a licezlsed pharm acist, oversaw and directed

             operationsatPFP relatingtocompound clrlljsandotherprescription items.
                   32.     JOHN AOEUDO ROD RIOU EZ enrolled, or caused to be em olled, PFP with

             vadoushealth carebenefitprogmm s,giving PFP theability to subm itclail sforprescriptionsand
        '
             receiyepaym entsrelating to thoseclim s.

                   33,     JOHN A OEUD O RODRIOU EZ solioited and recruited h dividuals referred to as

             çlm arketezs'' for the pup ose of inducing the referral of highrreim bursing prescriptions for
                                                                                               .




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    compound dnlgsand otherprescription itemsto PFP thatcouid bebtlled to health cazebeneik
                       *
                               .



    #fOgTaTnS.
                 The pup orted m arketers recraited by JOHN A OEUD O RODRIOU EZ t cluded

    M OHAM M AD IM TIAZ CHOW DIRJRY,AlexFlores,Jr.,HectorDeLacruz,1z.,V.O.,andJ.Y.
          35.    JOIW AOEUDO RODW OUEZ directedthepurpoMedmazketezstotargetspecifc
.
    healthcarebeneftprogramsthatpaidhkhreimbmsementsforcompou ddmgs,includingbutnot
    limitedto cbmpotmdpain cream s,scarorenm s,vitnm ins,and otherprescription item s,such aspain

    patches.

          36.    JOHN AGEUDO RODRIOIJEZ provided the purpoled m azketers with
    Prescription dz'ug pads,pre-filled with com poùnd drugs atld o
                                                                 'therprescription items thatwould

    yield thehighestpossiblereimbursem entfzom health care beneftprogzam s.

                 JOHN AOEUDO RODRIOUEZ paid illegal ldckbacks to m arketers,includihg

    M ON AM M AD IM TTAZ CHOW DHURY,Alex Flores,Jr.,and H ector DeLacruz,Jr.,to induce

    themarketersto referhigh-reimbuzsing prescriptionsf0rcompound drugsto PFP thatcould be
    billedto health cazebeneik program s.

          38.    Purportedm mketerM O                 IM TIAZ CH OW DH URY coordinated withllis

    father,TAJUL SH AM S CHOW DHURY,a physician,to send prescriptionsforcom pokm d drugs
                                                                        '
                                                                             .         .



    to PFP.

          39.     TAJUL SHAM S CH OW D HURY sent, or caused to be sent, prescriptions foz
                           #       .                                                             1
    com potm d dm gs and othezprescription item sto PFP forpafents who did notneed orw= tthe

    clrugsoriterns.




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                                                                     '
                                                  .

       40.     Jn fltrtherance oftheconspiracy,M OHAM M AD IM TIAZ CHOW DHURY made
 kickback paymentj to his fatherpTATUL SHAM S CHOW DHURY,to induce the refen'alof

prescrlptlonsto PFP.

       41.     In fhrtheranceoftheconspiracy,M O              IM TIAZ CHUW DHURY made
paym entsto employets ofhisfather'sm edicalclinic.

       42.     M OHAM M AD IM TIAZ CH OW DHUR.
                                             Y dizected and coozdinated with Azaceli

 OaonaandEroaSalinasVasquezto send,orcausetobesent,prescriptionsforcompotmd drugs

 and otherpzesctiption item sto PFP forpatieàtswho did notneed.orw antthe dnzgsoritem s,

       43.     MO         AD IM TTAZ CH OW DRU RY directed aud coordinated with Azaceli

 Oaona and Erika SalinasV asquezto authorize,orlause to beauthorized,zefllsforpzescription'
                                                                                          s

forcompolmd dnzgsand otherprescription item sto PFP forpatlentsw ho did notneed orwantthe

 drugs oritcm s.

       44.     In '
                  Flzrtherance ofthe conspizacy,M OHAM M AD IM TIAZ CH OW DHURY m ade

 kickback paym entsto D octor-l to induce thereferralofprescriptionsto PFP.

       45,          exchange foz the ldckback payments from M OHA                    IM TIAZ
 CHOW DH URY,Doctor-lreferredprescriptionsforlligh-reim btvsing com pound dlnzgsaud other
 prescdption item sto PFP,l cluding prescriptionsthatw erenotm ediçally necessary.

       46.     In farthermlce oftheconspiracy,Alex Flores,Jr.and HectorDeLacruz,Jr.,m ade
 kickback paym ents directly and indirectly to D octor-z in order to induce the referral of

 prescriptionsto PFP.

       47.     In exchange foz the ldckback paym ents âom Alex Flores, Jr. and Hector
 DeLacruz,Jr,,D octor-z referred prescriptions forhigh-reim barsing com po'
                                                                          tm d drugs and other


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    prescription itemstoPFP,includingprescriptionsthatwerenotmedically necessazy and werenot

    wartted by the patient.

          48.     lnfctheranceoftheconspiracy,purportedmarketerV.O.madekickbackpaymeéts
    directly and.t directly to m ultiplephysiciu s,including D octor-3 and.Doctor-4 in orderto induce

    thereferralofprescriptionsto PFP.

          49.     In exchange foz the ldckback paym ents 9om V.O.,and in fM herance ofthe
    conspiracy,boctoz-3 zeferred presoriptions for bigll-reimbm sing cbmpound drugs and other
    prescription hem sto PFP,includingprescriptionsthatw erenotm edicf ly necessazy.
                                                                         .



                  In coordinationwithv.tl,D octor-3 reczuitedDoctor-4 torefezprescriptionstoPFP
                                                       e
    in exchangeforksckbacks.

                  In furtherance of the conspiracy, and with direction and .
                                                                           input from JOHN
    AGEIJDO RODRIOUEZ>purported m arketer,J.Y.'
                                              , opened andoperated acli
                                                                      nicwith thepup ose
'
    andintentofgenerating high-reim buzsing prescriptionsforcom pound drugsto send to PFP.

          52.     In fuztherarme of the conspiracy, J.Y, m ade ldckbaok payments to Nurse
    Practitioner-l to inducethe referralofprescriptionstoPFP.

          53.     In exchange for tlle ldckback paym ents from J.Y .,Ntu'
                                                                        se Practitioner-l referred
    prescdptionsforhigh-zeim bursing com pokmd drugs= d. otherprescription item sto PFP,includzg

    prescriptiunsthatw ere notm edically necessary,and forpatientsnotseen by NuzsePractioner-l.

                  ln fudherance of the conspiracy,J.Y. and llis co-conspirators paid kickbacks to

    Söldier-l,a m pmber ofG e Unhed StatesM iiitary,to refer prescdptions for bim seif and other

    m em ber:of. theUni
                      tedStatesM ilitazy andtheirfamily membersforx gh-zeimbursingcompound.
    drugsand otherprescription item sto PFP.




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                   55.    In.fnrtherance ofthe conspiracy,and in exchangefortheldckback paym entsâom
                                                                                  *       ,


             J.Y .,Soldier-lcausedtherefel'
                                          ralofprescriptionsforlzigh-reim bursingcom poun.
                                                                                         d drllgs and other

             prescription itemsforllimselfand othermembersoftheUnited StatesM ilitat'
                                                                                    y and theizfnm l
                                                                                                   ely
        '    memberstoPFP,fnclufling prescriptionsthatwerenotznedically necessary,and forpatient.
                                                                                                snot

             seen by aphysiciam                    '
                                                                                                                    :
                   56.    JOHN A OBUD O RODRIGUEZ directed and caused co-conspiratozs and
             employees oi-PFP ta create specifc formulations for compound drugs based on achieving the

             lzighestpossiblereimbursementfzom health carebeneftprograms,ratherthanmedicalnecessity.

        '          57.    JOHN ACEUD O RODRIOUEZ directed and caused co-conspiratcrs and
             employeesofPFP to subm itfalse and âaudulentclaim sto health caze benefitprogram sin order

             toO sh''forcompound drag fonnlzlationsthatw ould yield lnigh reimbuzsem ents.

                   58     JOHN AUBUDO RODRIOW Z directed and caused co-conspirators and
             employeesofPFP to createpzescription padspre-fllled with specificfonnulationsforcomppund

             drugsandotherprescription itemsthatwouldyieldhighreimbursementsâom health carebeneft

             PrO:rdmS.

                   59. JOHN ACEUDO RODRICUEZ directed and caused co-conspirators and                                !
    l        employeesofPFPtosubmitfalseandfr-audulentclaimsforcompoundxdm gsandotherprescliption                   .
                                                                                                                    '
    I
    '
    l        itemsthatwerenotprescdbedbyadoctor,andwerenotwantedorneededbythepatient. .                       '     j
    !                                                                                                               t
               '

                   60     JOHN AGEUDO RODRIeUEZ directed and caused co-conspirators arld                          ' l
             employeesofPFP to ignoreprescripdons as written by physlcians and lstead billhealth care               !
              .                                                                                                     :
             benestprogram sforthe Mghestreimbursing com pokmd dm gsand otherprescription item s.
                                                                                                                    ;
                                                                                                                    l
                                                                    .
                                                                                                        '           j


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                 JOHN AGEUDO RODRIGU EZ directed and caused co-conspirators and

 em ployeesofPFP to createfalseandfraudulentSçtelephoneprescdptions''and physiciu appzovals

 makingitappearthatayhysicianhadauthorizedachangetowprescription.

       62.       JOHN AOEUDO RODRGOIJEZ,'Y violation ofhealth carebenefitplan rulesand

 regulations,directedandcausedpup ortedmarketersandemployeesofPFP tonotcollectrequired

 patientco-paysforjrescriptbnsforcompolmddrugsanditems.
       63.
       .         JOHN AOEUDO RODRIGUEZ and his co-conspirators concealed and attem pted

 to concealthefailureto collectco-paysin violation ofhealth carebenefk plan rulesand regulations

 bycreatingfctitlouspaymentsandpaymentgccounts.

                 JOHN AOEUDO RODRIGUEZ and his co-conspirators directed employees of
 PFP to forgepatientsignatureson falseand gaudulentdelivery ticketsforprescziption com pound

 m edication and otheritem s.

       65. Dtlringthetimeperiodcoveredbytheconspkacf,JOHN AGEUDO
                                                              :
                                                                 RODRIGUEZ
 submitted,or caused the submission,of claims totaling approxlmately $95 M illion to FECA,
 resultingi!lpaym entsofappzoximately $41M illionfzom FBCA toPFP.
       66.       During thetim eperiod coveredby theccnspiracy,JOHN AOEUD O RODRIOUEZ

 submitted,crcausedthesubmission,ofclaimstotalingapproximately $9.8M illiontoTRICARB,
 resultlngi!lpaymentsofapproximately $8M illiongom TRICARE toPFP.
       67,       ouringthetimeperiodcoveredbytieconspizacy,JoHx AeBuoo Roor euEz
 submltted,orcausedthesubmission,ofclaimsresultinginpaymentsofapproximalely $6M illion
 from M edicareto PFP.

      .    Al1in violation ofTitle 18,United StatesCode,Section 1349.
'


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                                             COIJNTS2ihrough13
                                           1117
                                              4AT,'
                                                  .
                                                  InH CAR'
                                                         R FR AIm
                                                 (18U.S.C.j1347)
               68.       ParagrapH 1through 27 and 31tllrough 67 are incop orated horein by reference.

                                            TheSchem e to D efraud
                                                             -     -.



                                             '
               69.       From in oraboutMay2014 ard conthmingthroughh)oraboutSeptember2616,
         theexactdatesbeingllnknown to the GrandJury,in theSouthem D istrictofTexasand elsewhere,

         defondants

                                      JOH N A GEU DO R ODW GW Z
                                   M OH AM M AD IM TIAZ CH OM Y HURY
                                                   and
                                      TAA Y SH AM S CH OM Y H UR Y

         along with othersknown and unknown totlw Grand Jury,in connection w ith the delivery ofand
         paym entforhealth caze benefts,item s,and services,did knowingly and willfully execute,and

         atlem pt to execute,a scheme an.
                                        d artifice to defzaud a health care benefit program affecting

         iùterstatecommerce,asdefnedinTitle18,UnitedStatesCode,Section24(b),thatissFECAOand
         to obtain by means ofmaterially falseaud âaudulentyretenses,representations,and promises,

         money andproperty ownedby andunderthecustody andcontrolofFECA.



                                            Execution nfthe Schem e

               70.       On oraboutthedateszstedbelow ,intheSouthem DisG ctofTexas,and elsewhere,
         forthepurpose ofexecuting the schem e and artifce to defraud,and to aid and abetthe sam e,the

j        defefldantsnamedinthecountsbelow,causedthetransmissioh ofthefollowing claimstoFECA,
;
         which were forthepatient,prescription mlm ber,approxim atefi11dates,and approxim ate amounts

         listedbelow .


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    Count                     Defendaut/s       Patient     Rx#       Fill        FBCA         FECX
                                                Initials              Date        Billed    Paid
      ,                                                                          Am ount   Amount
                      John AgeudoRodriguez      M .B.       130776   (/20/16 $17,918.59 $12,917.68
                   M ohammadImtiazChowdhury
.
                     TajulShamsChowdhury                      ,                    .
                     Jolm AgeudoRodriguez       M .B.       130820   7/19/16 $12,616.04    $3,825.51
                   M ohammadImtiazChowdhury
                     TajulShqmsChowdhury
      4               John Ageudo Rodriguez      B.T.      '129704   6/21/16 $17,918.59 $12,917.68
                   M ohammadImtiazChowdhury
           '
                     TajulShamsChowdhury
                      Joim AgeudoRodriguez       B,T.       129705   6/21/16 $18,498.49 $12,948.94
                   M ohamm adhntiazChowdhury
                     TajulShamsChowdhury
                     JohnAgeudoRodriguez         E.T. 70006916 4/21/16 $13759.44 $9,537.51
                   M ohammadIfntiazChowdhury                                  '
                     TajulShamsChowdhury
               '
                     JohnAgeudoRodriguez         E.T.       122214   7/16/16 $17,918.59    $5,536.15
                   M ohqmmad ImtiazChowdhury
                     '
                     fajulShamsChowdhury
                          *                                                  %
      g              J'                                                      ,
                                                                             .
                         ehn Ageudo Rodriguez    J.K.       128704   6/20/16 $17,918.59 $12,91:.68
      9               Jolm Ageudo Rodriguez      J.P.       133604   6/21/16 $17,918.59 $12,917.62
                   M ohamm adTmtiazChcwdhury
      10              JohnAgeudoRodriguez        J.P.       133604   7/19/16 $17,918.59 .'$5,536.15
                   MohammadhntiazChowèhury                                                 .

      11             JohnAgeudoRodriguez         V.B.       128541   6/21/16 $25,645.07 $17,951.55

      12              JohnAgeudoRodriguez        Y.C.       131978   7/29/16 $4,133.
                                                                                   42      $2,477.95

      13              John AgeudoRodriguez       S,D.       133178   6/22/16 $21,276.68 $14,899.31


               A11in vlolation ofTitle 18sUnited StatesCode,Section 1347 and Title 18,United States
    Code,Section 2.




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                                               COUNT 14
             CONSPIM W TO
                        --PAY AND RECEIVE M ALTH CARR IG CKBACKS
                                            (18U.S.C.b371)
                   Paragraphs1 tk ough 27 and 31through 67 azeincorporated herein by reference.

                   From in orl otmd M ay 2014 and conthrlingtbzough in orazound Septem ber2016,

     theexactdatesbeingunknowntotheC#randJuzy,intileSoutherriDistrictofTexasan.
                                                                              d elsewhere,
     defendants

                                  JOH N A GEUD O RO DW GUEZ
                               M OH AM M AD IM TIAZ CH OW DH IJRY
                                               and
                                  TAJIJL SH AM S CH OW DH URY

     did knowingly and willfnlly com bine,conspire,confederate and agree with oi ers,know n and

 nnknown,to comm itcertain ofensesagainstthe United States,thatis:

                   a.      to violate Title 42, United States Code, S
                                                                    . ection 1320a-7b(b)(1),by
     knowingly andw iilfully solicit
                                   ing arld receiving rem uneration,specitk ally,ldckbacksalldbzibes,
 '
     dizectly and indirectly,overtly artd covertly,in return forrefen'
                                                                     ing individualsforthefhrnishing

     and arranging forthe#hrnishsng ofany item and serviceforw hichpaym entm aybem adeinw hole
     orinpartby aFederalhealth careprogram ,and forthepurchasing,leasing,ordering and at-
                                                                                        ranging

     forand recomm ending tâe purchasing,leasing and ordeling afany good,item ,and service for
                                                                                          .



     wilich paym entm ay b:m adeillwhcle and in partby aFederalheali cazeprogram ;arzd

                           to violate Title 42, Uzzi
                                                   .t
                                                    ed State? Code, Section 1320a-7b@)(2),by
     H owingly and willflxlly ofering and yaying rcm tmeration, speco cally,ldckbacks atld bribes,

     directly and indirectly,overtly aud coveztly,hlrefnzrn forreferring hldividuals.forthe ftzrnishing

     andarrangingforthefbrnishing ofany item and serviceforwhich paym entm ay bem adein whole

     orinpartby aFederalhealth careprogzam ,andforthepurchasing,leasing,ordel-
                                                                             ing and arranging

                                                    l5
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     foraud recommenrllng thepurchasing,leasingand ordering ofany good,item arld servicefor

     which paym entm ay be m ade in wholeofin partby a Federalhealth careprogram ,

                                       PurposeoftheC onspiracy

           73.       Itwas a purpose oftheconspiracy forthe defendants and their co-conspizatorsto

     unlawfully endcllthem selvesby paying and receiving ldckbacks and bribes in exchange forthe

     referralofprescriptionsforcompotmd drugs and otherprescription item sforw hich claim s could
     besubm itted toFederalhealth cazeprogram s.

                                 M anner an d M eans'oftheC cnspiracv
                                 -        --                -   -




            The m rmner and m eans by which tlle defendants and their co-conspirators sought to

     accomplishthepurposeandobjectoftheconspiracyirmluded,amongotkerthings:
           74.       JOHN AOBUDO RODRIGUBZ madenumerousldckback paymentstopurported

     marketerstoinducethereferralofprescdptionsforcompounddrugsandotherprescriptionitems
     toPFP,forwitich claimsweresubmittedtoFederalhealthcazeprogzams.
                 t                                                                       ..


                     The kickback paymentsm ade by JOHN AOEUD O ROD RIOUEZ w erebased on
     theamotmthealth carebenefitprograms,includingFederalhealthcareprogrnmq,reim bméedPFP
     forcl mssubmitedforpreicriptionsforcompound drtlgsknd otherpresoripuon îtem s.
           76.       JOHN A GEUDO R ODM GUEZ paid ldckbacks to pup orted m rketers based on

     theamotmtpaid by Federafhealth care programs,lessthephqrmacy's costs,forprescriptions
     zeferred thzough tlle purported m arketezs to PFP, including prescriptions for benefciazies of

     Federalhealttzcareprogrnm s.

                     In furtherance oftlle conspiracy,JOHN A OEU DO R ODRIOU EZ m ade kickback

     paymentstotaling approximately $6.6M illiontoM OH AM M AD IM TIAZ CHOW DRURY.




l                                                  1
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          73.     Th:kickbackpaymentsfzom JO> AOEUDO RQDW OUEZ to M OHAM V AD
    IMTIAZ CHOWDHURY hcludel
                           d paymentsforprescriptionsreferred by hisfatker;TAJUL
    SHAM S CHOW DHURY relatingtoFederalhealth carebeneftprograms.
          79.    M OH AM M AD N TIA Z CH OW DHU RY directed and coordinxted with Araceli

    Oaona and Erika SalinasV asquezto send,orcause to be sent,prescriptionsfor com pound. drugs

    mzd otherprescription item sto PFP.

          sO.    In furtherance ofthe conspiracy,M OH            JM TJA Z CH OW DH URY m ade

    orcaused to bem ade,paym entsto AzaceâiGaona and Erika SalinasVasquez.

                 TheZckbackpaymentsâom JOHN AOEUDO XODRIGUEZtoMO
    IM TIAZ CH OW D HURY included paym ents forprescription: refezred by D octor-l zelating to

    Federalhealth carebenefitprogrnms.

                 infurthexanceoftheconspkacy,JOHN AOBUDO RODRIOW Zmadeldckback
    paymentstotaliugapproximately $8M illiontoAlex Flores,Jr.andHectorDeLacruz,Jr.
          83.     The ldckback paym ents âom JOHN A GBUDO RODM OUEZ to Alex Flozes,Jz.
.   an.
      d Hector DeLacnlz,Jr.included paym ents forprescriptions referred by Doctor-z and other
    physiclansrelating to Federalhealth care beneftprogram s.

          84.     In fbdherance ofthe conspiracy,JOHN A OEUDO RODIU OUEZ m ade kickback

    paymentstotalingapproximately $7.6M illiontoV.O.
          #5,     The ldckbaçk paym ents to V.(k included paym ents for yrescriptions refen'ed by

    Doctor-3 and otilerphysiciansrelathzg to Federalhealth carebenefitprogrnm .
                                                                              q.

          86.     ln furtherance ofthe conspiracy,JOHN AGEUD O RODIUOUBZ m ade kickback
    paymentstotaling'approximately morethau$700,000toPFp-Employee-l.


                                                17
                                                                  '

l                                                                             .                                    .                   .

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:                                                                                              '
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(                              .



                        87.         The ldckback pam ents to Plp -Employee-l,tmder an assumed nnme with the
         .        'hlitialst$
                            M .V.C.,''includedpaym entsforprescriptionjzefened byDoctcr-3arzd otherphysicians
                  zelating to Federalheali carebeneftprogrnm s.

                        88.         ln 6ldherance ofthe conspiracy,JOHN A OEU DO R ODRIGUEZ m ade ldckback
                                                                                           .                                           I
     '
                  paymentstotalingâpproximately $1.3M illiontoJ.Y.                                     :
                        #9.         The ldckback paymenl to J.Y.included paym ents f0rprescriptions refened by                         9
                                                                                                                                       .

             .                                                                                                         '                   .

                  Nuzse Praditioner-l,othezphysicians,and Soldier-l,including prescriptionsrelating to Federal                         1

                  health carebenefitprogm ms.
                                                                                                                                       I
                                                                 OvertA cts
                        90.                                                                                                            !
                                    In fsldheratlceoftlle conspiracy,alldto accomplish itsobjectand purpose,tlle                   .
                  conspirators commitled mld caused to be commitled,in the Solzthem Disd ct of Texas,the

                  followingovertacts:                                         '                                                        '
                    '
                                    a.       On orabouttiledatessetforthbelow,each ofwhieh oonstitutesasepnote

                  overtact,conspizatoz JOHN AGEUDO RODRIOUEZ paid money usipg checks drawn on the
                  accotmtofJOCAR M attagementatLeneStarNationalBnnk,accountnumberendingia 5815,te
                  the co-conspizators,in the approz m ate am ountslisted below :                                                       '

                             Overt        Date       Amount           Check                        Payee       '
                             A ct                                      No.
                         .
                              a.1        6/30/16   $481,773.16         31s3             EchelonM edical
                              a.2        6/30/16   $550,598.98         3184       Flores& DelaCluzFiuancial
                                                                                            Solutions
         .                    a.3        6/30/16   $117,106.14        .3192                GP.M .LLC''                         .
                              a.4        6/30/16   $34,455.08          3195                 $'M
                                                                                              *
                                                                                                .V .C.''                   ,
                                     .                                                 .                   '


                         M linviolationofTitle 18,United StatesCode,Section 371.                                               '




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                                                COUNT 15
                     '
                         CUNSPK ACY TO COM M TT M OM Y LAUN DERIN G
                         -     -            -                -


                              .            (18tcs-c.g19s6(hj).
          9l.       Paragzaphslthrougk27,31tlaough67,and74tbrough 89areincoporatedherein
    by zefezence.

          92. 'From in oraround M ay 2014 and continuingthrcugh in orarolm d Septem ber2016,

    theexactdatesbeingnnknowntotheGrandJury,intheSouthernDistrictofTexasand elsewhçre,

    defendauts

                                      JOHN AGEUDO RODRIGUEZ
                                   M OH AM M AD IM TIAZ CH OW DH URY
                                                 and
                                      TAJUL SH AM : CTIOW DH URY

    didlm owingly andwillfhlly com bine,conspire,confederate,and agree wit.
                                                                          h each otherand others,
,   krmwn andTmknown,to commltcertain offensesagainsttheUitedStatesin violation ofTitle18,

    United StatesCode,Section 1956 and 1957,to wit:

                    a.       to knowingly conduct and attempt to conduct Enancial trsnnactions

    affecung interstate and foreign com m erce,which involved the procèeds of specifed tm lawful
    activity,thatis,health carefraud and conspiracy to commithealth carefraud,with theintentto

    prom ote the canying on of said specified 'mlawful activity, and that while conducting an.
                                                                                             d

    attem pting to conductsuch fmancial'
                                       trnnqactionsknew thattheproperty involved in thefnancial

    kansactionsrepresentedtheproceedsofsomeform ofunlawfulactivityin violation ofTitle 18,

    UnitedStatesCode,Section 1956(a)(1)(A)(i);
                             to knowingly conduct and atlem pt to conduct .Enancial tzanAactions
'
    affectinginterstateandforeigncommerce,wllichinvolvedproceedsofspecisedtmlawfulactivity,

    thatis,illegalldckbaclts and conspiracy to pay énd zeceive illegalldck
                                                                         .
                                                                           backs,H owingtllattile
                                                   19
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    transactionsw eredesîgned in whole orin partto concealand disguîsethe nature,location,source,'
                                                                    #
     ownersllip,andccnàoloftheproceedsofspeoifedllnlawftzlacévity,acdthatwhileattemptingto

     conductsuch fmancialtransactions,knew thatthe property involved in the iinancialtransactions

     represented theproceedsofsom efo= ofunlawfulactivity,in violation ofTitle 18,United States

     Code,Secfon1956(a)(1)@)(i);
                         to know ingly engage and attemptto engage in m onetary transactlons by,

     tluvugh crto a fmancialinstimtion,affecting interstate and foreign comm erce,in cn'minally

     derived property ofa value gzeater th% $10,000,such propelty having been derived from a
     specifed Ilnlawfulactivity,thatis,health careâaud and conspiraoy to co'
                                                                           m rnithealth cazeâaud,

     in violation ofTitle 18,United StatesCode,Section 1957.
                               M annerand M eans ofthe Ctm spiracy
            The m mmer and m eans by which the defendants au.
                                                            d tâeir co-ccnspirators oought to

     accomplishthepuposeandobjectoftheconspiracfincluded,nrnongotherthsngs:
           93.     It was pad of thc conspiracy that defendants would cause health care benest

     program sto remitnaym entof tlze proceeds ofthe health care fraud schenfe into bnnk accounts

     contrclledby JOHN AGBUDO RODRIGUEZ.
                   ltwasapartofthe conspiracy thatJOHN AOEUD O RODRIOUEZ w ould kansfez

     proceçdsofthehealtilcazegaud schem eto defendants and theirco-conspirators.
                   Infartheranceoftheconspiracy,M O               IMTIAZ CHOW DHORY made
     regularcash paym entsto his fai er,T
                                        .
                                          AJUL SHAM S CH OW DHURY from the am ountspZd to

     M OHAM M AD N TIA Z CH OW DHURY from JOH N A OEU DO RODRIOUEZ.




                                                 20
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               96. .Y fartheranceoftheconspiracy,MOHAMMAD IMTIW CHOWDHURY made
         regular cash paym ents to Doctor-l fzop the am ounts paid to M OH '                IM ITAZ

         CH OW DHURY frOm JOHN AOBUD O R ODRIOUEZ.,
               97.     In fmther= ceafthe conspiracy,M O            ' IMTIM CHOW DHURY made                 1
                                                                                                            1
                                                                                                            :
         paym entsto AzaceliOaona and Brika SnllnasV asquez from the am otmtspaid to M OH AM M AD           l

         IMTIAZ CHOW DHURY from JOHN AOBUDO RODRIOUEZ.                                                      1
                                                                                                            l

               98.      M OH AM M A D IM TIAZ CH OW DHUR Y falsely disguised the paym ents to

         AzaceliGaona and Erika SalinasVasquez asptzportedpaymentsto tlzeirrespectivespousesfor
         contactwork.                                                                                   '   i
                                                                .                                           !
               99.      In furthezance ofthe conspiracy,Alex Flores,Jr. and H çctorD eLacruz,Jz.m ade
         pam entsto Doctor-z âom tlze am ountspaid to Alex Flores,Jr.and H ectorD eLacluz,Jr.from

         JOI> A OBUDO RODW OUEZ.

    .          100.     Alex Flores,Jr.andHectorDelzacnlz,Jr.falsely isguisedpaymentstoDoctez-z

         aspup crtedpaymentsrelatedtoabusinessventklre.

               101. AlexFlores,Jr.andHectorDeLacruz,Jr.falsely disgulsedpaym entstoDoctor-z
         aspup ortedpaym entsto a relative ofDoctor-z.                                                      E

               1û2. InfM heranceoftheconspiracy,JOHN AUEUDO RODRIOUEZ directéd V.G.to
'
         concealldckàacksbycreatingtheentityTT.M.LLC''tömakeitappearthattllepaymentsrelated
         to legitim ate m arketing and conslzlfng activities.

               103. ToconcealpaymentstoDoctor-3,JOHN AOEUDP RODRIOUEZ directedV.(L
         tomakepaymentstooootor-3eom seamountspaidbyJo> Aesuoo Room euEz tov.G.




                                                          2)
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       104, ToconcealpaymentstoDcctor-3,JOIG AQEUDO RODX CUEZ directedV.O.

 to make paym eats to D octox-3 from tlte entity ST .M ,LLC''to m ake it falsely apptar tba.
                                                                                           ttbe
                                                                                             .




 paym entsrelated.tolegltimatemmketing and consultiugactivities.

       105. kl furtheratlce of the cbnspizacy, JOHN '
                                                    A OE'
                                                        UD O ROD RIOUEZ directed

 PFp-Bmployee-lto createan entity to receiveldckback paym ents,inoluding paym entszelating to

 D octgr-3.

       106. 'Atthedirection ofJOHN AGEUDO RODRIGUEZ,PFp-Bmployee-lcreatedthe

 assllmednnrne(tM .V.C.'',tomakeitappearthatthepaymentsrelatedtolegitim atemarketingand

 consulting services.
       107. In fut
                 rtlzeranoe oftileconspiracy, J.Y .m adepaym entsto NttrsePzactltionçr-lâom

 the am ountspald to J.Y .9om JOHN A GEUD O RODRIOU EZ.
       1O8 ' In/ rtseratweoftheconspiracy,J.Y.m adepaym entsto Soldier-lâom tlw nm olm ts

 pdd to J.Y .from JOHN AGEU DO ROD IO UEZ.

        A1lirlviolationofTitle18,UnitedStatesCode,Section 195609.
                                COUNT 16
         CONSPIRACY TO PAY AN D R ECEIVE H EA LTH CAR E K ICK BA CK S
                        -   -


                                       (18U.S.C.:371)
       109.    From in oraround D ecem ber2016 and continuingthrough in orr ound July 2017,

 theexactdatesbeinglmknowntotheOzandJury,intheSoutheznDistzicto?Toxasazzdelsewherè,
 defendr ts

                                TAlrt s-      scHow om         v


 did knowingly arzd willfully com bine,conspize,cozlfederate and agzee with others,lcnown aud

 unkncwn,tc ccmrnitcertain offensesagaiusttheUnited States,*atjs:


                                              22
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                         c.   to violate Title 42,United Statés Code, Section 1320a-7b@)(1),.bj
         knowingly andwillfully solicitingandreceivingremuneration,spedfically,ldckbacks.> dbribes,              '

         directly an.
                    dindirectly,overtly and covertly,in return fozrefening individualsforthefurnishing

         andazrangingfortlle'glrnl
                                 'slningofanyitem audsezviceforwhichpaymentm ay b.
                                                                                 em adein whole

         orinpartbyaFederalhealth carepropam,artdforthepurch
                                                           'askg,leasing,Ozderingandarranging                .

         forandrecommendingthepurchasing,
                                        'leasing andorèering ofany good,item,andsezvicefor
         whichpaymentmay bemadeinwholeandinpal.
                                              tbyaFederalhealth careprogzam;and
                     '
                         d.   to violate Title 42,United States Code, Section 132Qa-7b@)(2),by
         know ingly and willfully oferizlg and payhzg rem tmeration,specifcally,kickbacks and bribes,            1
-
                                                                                                                 !
         dizectly and indirectly,overtly and coveztly,in return forrefelring individualsforthe f'urnishing

         and arrauging fortheft
                              zrnislling ofarty item and service forwhich paym entm ay bem adeinw hole

         orinpe by aFederalheaith careprogram ,and forthepurchasing,leasingrorderiag and arranging

         for and recom m ending the pmchasing,leasing and ordering of any good,item and service for '

         wlzich paym entm ay bem adein w hole ozin partby aFedezalhealth carepzogram .

                                            Purposeofthe Censpiracy
                                                                - -    -




               110. Itwasapuposeofthe conspiracy forthedefendantsarldthei.
                                                                         rco-conspiratorsto
         unlawfully enzich them selvesby paying and zeoeivl g kickbacks aud bribes in exchange forthe

         referralofprescriptionsforcompound drugsforwhich claim scould besubm itted to Federalhealth

         cazeprogram s.
                                                                                                                 ;
                                    M-   ann e-rand M   eans of1he C pnspiracy
                                                                      --   -




    '            The m'nnmer and m eans by wlzjch the defendu ts mzd their co-conspirators soughtto
         accomplishthepurposeandoblectoftheconspiracyincluded,amongotherthings:
                                                                                                                 i



                                '                         23
                                                           '                   '                                 '
    j
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                            --   awned and oper>ted abusiness,known asM anosDe Oro, prcviding

homehealthserdcèstoFederalhealthcareprogram benefciariesinandaroundHidalgoCctmty,
Texas.

      112.                       tladapre-existingrelationshipwith-
                                                                  l-Anm SHAM S CHOW DHURY.

 Ambngothert%ings,TAJIJL SHAM S CHOW DHURY prescribed hom ehealth careserdcesfor
              .      $

patientsofM anosDe Oro.
              '
                  Pharmacist-lwasâformerbusinesspm nerofJOHN AGBUDO RODZIOUEZ mld
the owner cf Phq
               l
                 rmacy-l, a com potm ding phnrmacy doing business in and arouud Hidalgo

 Colmty, Texas.          Phnrmacist-l m odeled Phnrm acy-l, in part, aûer JO1wIN AOBUDO

RODRIGU EZ'Spharm acy,PFP.

       114. In qr aiound Decçmber 2016,                           metwith Pharmacist-l. l:lthe

m eeting,                        represented thatshe colzld cause TA JUL SHA M S CH OW DHURY to

 sendprtsoriptionsfozcompotmddrugstoPharmacy-l,wbich Pbsrmacist-lcould,inturn,billw
                                                                                  to

Federalhealth careprogram s.

       115.                             and Phnrmacist-l agreed to an azrangem ent whereby

 Phnrmaqist-l would pay illegalldckbacksto ,                     ,in exchange forthe referralof
 compo
     'tmddnzgprescriptionsfrom TAJUL SHAM S CHOW DHURY toPhnrmacy-l.

       116. Pimrmacist-l m ade G e frstillegalldckback paym ent to                      ,
                                                                                        'in tia

 amountof$10,476.19by checkdatedJmmary 13,2017,Thereafter,Phnrmacist-lmadenumerous
 illegalkickbàck payments to                       oaach in the amomztof $4,117.50 through June
 2017.
                                                                  y'
         117. Thepurpose ofpaying illegalkickbaolcsin reggla.
                                                            rfixedpaymentsof$4,117.50
 w as to conceal tim illegz ldckback arrangementby atem pting to m ake h appeaz that .


                                                  24
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j                                                                                  N                                                ,



                                                was an employee of Phnrmacy-l and the paym ents w ere salary. In tluth,
            '                   '           '
                                                was not an,employee of Phnrmacy-l, and th! paym ents w ere illegalkickbacks for
                                                                                              .


        '
                                    prcscriptionswrittenbyTAJUL SHAM S CHOW DHURY.
                                          118. The muount of the illecal kickback ravments 9om Phnrmacist-l to                             '
I                                                                                                                       '

                            '               w as calculated to approxim ate 35% of the netprcftto Phnrmacy-l from compound

                                    drugsprescribed by TAJU L SH AM S CH OW DH URY .

                                          119. Phnrmacist-l paid                            a totf of $72,238.69 :
                                                                                                                 in illegalkickbacks
                                    duringaperiodof.
                                                   flmeofapproxlmately 6monisbetween Jalmary2017and Jtme2017.
        .                                                                              '                                                           *
                        '
                                          120. Infurtheranceoftheconspirpcyz'                         paid illegalldckbackstoAraceli                       '
                                                                                                                                                           ,


                                    Gaona, an employee of TAJUL SHAM S CHOW DHURY and his clilc, Center f0r 'ain
                                                                                                                                                       .
                                                                                                                                                           1
                '

                                    Vanagement.                                                                                                            l
                                          121. Jn an efortto concealthe illegalkickback paym ents to Aracelieaonaa.
                        '                       made tize illegalldckback paym eatsby checks paid to A raceli Gâona'shusband'
                                                                                                                            ;with
    '                               m em o linesfalsely suggesting thatthe paym entsw erefor contactlabor, drawn on the busness
                                    account of               -          hom e health care business, M aaos D e Oro. In trtlth, Araceli                     .
                                                                                                                                                           :

                                    Gaona'shusbandneverperformedcontractlaborfor                             orManosdeOro   .
                                                                                                                                '
                                                                                                                                                           (
                                                                                                                                                           '
                                                                                                                                                           !
                                                                    .                                                                                      !
                                          122. Itlfurthermlce oftileconspiracy,                           paid ill6galldckbqckstoEçika         .           .
                                    SalinasVasquez,an employeeofTA JUL SHAM S CH OW DHU RY and hisclinic,CentèrforPain

                                    M anagem ent.                                                               '
                                          123.      ln exchange for the illegal ldckback paym ents from                         .Araceli
                .                   Oaona and Erika Salinas Vasquez facilitated and coordinated the refetral of presoriptions for
                    .   '           compo= d drugsfrom TAJUL SHAM S CHOW DH URY to Phnrmacy-l.
                                                       '                                              .             l




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                                                                                                   f*




       124. Infurthezanceoftheconspiracy,                      paidillegalldckbackstoTAJUL

 SHAM S CH OW DHURY .

       125. InfmG erancecfthecomspiracy,andin exchanjeforldckbacksâom Phnrmacist-l,
                 usedldckbacks,aswellasheriafluenceandrelationship with TAJUL SIIAM S

 CHOW DH URY to causethe referrd ofprescriptionsforcom pound dnzgsto Phnrm acy-l,

       126. Duringtheconspkacy,                        ,infonned Phacnacist-lthatshehadbeen

 approached by Federal agents,who were investigating illegal ldckbacks.                        '
                                                                                               .

 infbrmedPhnrmacist-lthatsheliedtotheFederalagentsin a:lefforttoconcealtheconspiracy.
       127. Duringthe conspiracy,Phqrmacy-lwaspaid moretharlapproximately $300,000
 from healthcazebeneâtprogrmns,including Federalhealth carebenefitprogram s,forpreqcriptions
                                                                       1

 9Om TAJUL SHAM S CH OW DHURY .

                                        O vertA cts
                                            -      .                                .      .




       128. Jn fcrtherance oftheconspiracy,and toaocompiish itsobjecland purlose,the
 conspirators committed and caused to be committed, in the Southem Disz ot of Texas,the

 follcw ing overtacts:
           a. On or about Juue 22,2017,Phqmnaoist-l m ade an illégalkickback paym entto

                               tnthemnountof$4,117.50by checknutnber13631drawnontke

               bnnk accountofPhnrmacy-l,

           b. On oraboutJune 26j20l7,                      deposited,or caused to be deposited,

               check number 13631 9om Phnrmacist-l into her personal checklng account at

               WellsFargoBank.




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            On oraboutJune 30,2017,                   madean illegaik ckbackpaymentto
            TAJUL SHAM S CHOW DHURY in theam otmtof$2,500 by checknumber1182
            dzawn on thebusinessaccotmtofM r osD e Oro.

            0n or about'A ugust 31,2017,TA JUL SH AM S CHOW D HURY deposited,or

            causedtobedepcsited,checkullmber1182âom                     Jintohisaccotmt

            atTexasRegionalBank.

            On orabout July 1,2017,                  m ade an illegalkickback paym entto

            AraceliOaonain theamountof$2,000by check nllmbé.
                                                           r1171,written toAraceli
            Gaona'shusbandwiththefalsememolinetlcontractlabôr''drawn on thebusiness

            accotmtofM anosDe Orc.

            On oraboutJuly 15,2017,                   m ade an illegalldckback paym entto

            AraceliGaonain theam olmtof$2,000by check number1175,written tpAzaceli
            Oaona'shusàandwiththefalsememolillel'contzactlabor''drawnon'thebusiness
            accotmtofM anosDe Oro,
      A11in violation ofTitle 18,Unlted StatesCode,Section 371.




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p                                  .                                        tè
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            .                                       NOTICE OF FORFEITUBE
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.
                                                       (1gus.c.j9824a)(7))
                           Pursl'
                                lnnttoTitle18,UnitedStatesCode,Section982(a)(7),theUnitedStatesgivesnotice
!       .           to defendauts JO11N A OEUD O RODRIGUEZ,M OH AM M AD N TIA Z CHOW DHURY ,and
i                                           '                         .                         .

                    TAJUL SHAM S CHOW DHURYJ.                #thatupon defendants'respediveccnvicuon

                     ofCotmts1 tbrough 14 and 16 ascharged in thisIrzicu ent,tkeUnited States intendsto seek
    '                forfeitureofa11property,realorpersonal,wllich constitatesoris derived 9om proceedstraceable

                    to such otbnses. '                                 .


                                                    N OTICE OF FORFEITUR E
                .
                                                       (18U.S.C.j982(a)(1))
                           PuzsuanttoTitle18,UnitedStatesCode,Section982(a)(1),theUnitedStatesgivesnotice
                                                                                                                    7
                     to defendants JOHN A OEUD O RODRIOIJEZ,M OH AM M AD N TIAZ CH OW DHURY,and
                                                                                                    ?
                     TAJLL SHAM S CHOW DIO RY,thatupon defendants, conviction ofCount15 chrged in this
    l                Indiqtnent, the United States intends to seek fozfeiture ofal1property,realor personal,wu c:

                     constimtesorisdezivedâom proceedstraceableto such offenses.

                                        M ONEY JUDGM NT AND SIJBSTITUTE ASSETS             -




                           Ifany oftheproperty described above,asaresuh ofany actorom ission

                     ofthedefendantgsj:         '                                                                   '
                             ,    a.      cnnnotbe located upon the exercise ofdue d ligence;

                                   b.     hasbeen tzansferred orsold toy.ordeposited with,alhlrd party;                 '

'                                  0.     hasbeenplacedbeyondthejurisdictiopoftheqourt;
                             '
                                   d.     hasbeen substantially dtrnlmsshed in value;or




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j                               Case 7:21-cr-01228 Document 206 Filed on 06/21/22 in TXSD Page 29 of 29                                                                       i
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j                                       @
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                                                    e.       hasbeen commingledwith otherpropeo wllich cnnnotbedivided                                                        .



                                            .                w ithoutdifficulty,
                                            .                                                                                 .                                               d

I                   '           theUnitedStatesofAmericashallbeenthledtofozfeitureofsubstitutepzoperty'pursuanttoTitle                                                        '
    .                                                                                                                                                                         J
l                   ' 21,UnitedStatesCode,Section853û$,asincorporatedbyTitle18,UnitedStatesCode,Section                                                                       i
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I                                                                                                                                                                             '
i                               9E2(b)(1)aadlqtle28,unitedstateseode,seotionz46llo).Allpwsuantto:su.s.c.:9:2(a)(7)                                                            '
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                                 and28U.S.C.j2461(c).
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                                                                                                 JEN NIFER B.LOW ERY
                                                                                                 IN TED STATBS ATTORN EY


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                            '
                                 A TRUE Bm L:                                                    Andrew R .Sw artz
                                                                                                 A ssistantUnited Statesxuoyyay                         .
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                                  GrandJUJ Foreyerson




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